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 8
 9
                                      UNITED STATES DISTRICT COURT
10
                                   NORTHERN DISTRICT OF CALIFORNIA
11
                                          SAN FRANCISCO DIVISION
12

13   UNITED STATES OF AMERICA,                         ) CASE NO. CR 19-0120 CRB
                                                       )
14           Plaintiff,                                ) DEFENDANT’S SENTENCING
                                                       ) MEMORANDUM
15      v.                                             )
                                                       )
16   RICCI LEE WYNNE,                                  )
                                                       )
17           Defendant.                                )
                                                       )
18

19                                                INTRODUCTION
20
             “It has been uniform and constant in the federal judicial tradition for the sentencing judge to
21
     consider every convicted person as an individual and every case as a unique study in the human failings
22
     that sometimes mitigate, sometimes magnify, the crime and the punishment to ensue.” Koon v. United
23
     States, 518 U.S. 81, 113 (1996). This is why 18 U.S.C. § 3553(a) requires the Court consider “the
24

25 nature and circumstances of the offense and the history and characteristics of the defendant,” along
26 with what sentence will “provide the defendant with needed educational or vocational training, medical

27 care, or other correctional treatment in the most effective manner.” 18 U.S.C. § 3553(a)(1) and (2)(D).

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 1          In determining the sentence, the Court is guided by the principle that it “shall impose a sentence

 2 sufficient but not greater than necessary” to meet the goals of sentencing. 18 U.S.C. § 3553(a); United

 3
     States v. Carty, 520 F.3d 984, 991 (9th Cir. 2008) (en banc). To do this, the Court must consider the
 4
     totality of the defendant’s life, not just his failures but his successes too. The Court must ask – who is
 5
     this person? How did he come to be here?
 6
                                              RICCI WYNNE
 7

 8          Most people’s minds harbor incompatible ideas about punishment. One is severe: criminals

 9   should be punished. The other is sympathetic: there but for God’s Grace go I. Punitive passions call for
10   condign punishment. Sympathy calls for compassion. Among those most needing it are people who
11
     have lived deeply disadvantaged lives. The criminal law cuts them little slack.
12
             Here, as illustration, is Associate Supreme Court Justice Elena Kagan’s description of the life of
13
     Evan Miller in Miller v. Alabama, 567 U.S. 460 (2012), the decision that declared mandatory life
14

15   imprisonment without parole for offenders under age 18 unconstitutional:

16          [I]f ever a pathological background might have contributed to a 14-year-old’s
            commission of a crime, it is here. Miller’s stepfather physically abused him; his alcoholic and
17          drug-addicted mother neglected him; he had been in and out of foster care as a result; and he
            had tried to kill himself four times, the first when he should have been in kindergarten.
18

19          Like Evan Miller, Ricci Wynne’s pathological background has contributed to his commission of

20   these crimes.1 His mother, Barbra Loza used cocaine (crack and powder) daily throughout her
21   pregnancy. Ricci tested positive for cocaine and heroin when he was born. His speech was delayed,
22
     and it is not known whether he learned to walk on time because his mother was heavily using drugs at
23
     the time. PSR § 55. Ricci was physically and verbally abused by his mother, father and uncle
24

25
26
            1
            The crimes to which Ricci Wynne pled include the possession with intent to distribute 105
27 grams of cocaine and felon in possession of a firearm for a gun that was in the apartment. And, while
   Mr. Wynne has several prior convictions, none are violent offenses, all related to drugs, and the longest
28 sentence received of one year custody.
                                                                                                           2

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 1   including placing his hands over a hot stove. He was left alone to try to fend for himself and his basic

 2   needs were not always met. PSR §§ 56 and 57.
 3
            He witnessed several instances of violence and drug use including his youngest brother’s
 4
     victimization of Shaken baby syndrome. He was placed in foster care and throughout his childhood
 5
     was placed in relative’s homes where his uncle would rob banks and his six-year-old cousin was
 6
     reported kidnapped after his uncle left her with a man whose name he could not remember. PSR ¶ 60.
 7

 8   The home he was raised in was in a filthy condition and he slept on a mattress with the other children

 9   in the middle of a room flooded due to a broken water heater, no food in the fridge or cupboards,
10   littered with needles and flies throughout. PSR ¶ 59.
11
            Chaos surrounded Ricci’s childhood. His father and a female companion were getting high in
12
     their apartment, passing out dead in the bathroom with a spoon and needle and a band around her arm,
13
     lying in feces all over the floor. Despite her dying from an overdose, Ricci’s father told him to go
14

15   inside the bathroom to take the woman’s fanny pack which had drugs inside of it. PSR § 62. Ricci was

16   scared and told his father to call the police which he did after hiding the drugs and fanny pack. When

17   they arrived, the police asked Ricci for the truth, which he told and when the police eventually let
18   Ricci’s father go, he punched Ricci on the side of his head so hard that he had temporarily lost his
19
     hearing for three days and required Ricci to clean up the mess that was left in the bathroom from the
20
     woman’s death. PSR § 63.
21
            Ricci was the victim of childhood sexual abuse with his father telling him at the age of 13 to
22

23   have sex with a woman who bought Vicodin from his father. His father told him that from then on

24   whenever this woman came over to buy drugs, that it was Ricci’s responsibility to have sex with her.

25   “Sometimes I didn’t want to do it. I wanted to ride my bike with my friends, but my dad said I had to
26
     be there”. This abuse went on for a couple of months. PSR ¶ 67.
27

28
                                                                                                                3

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 1          The PSR and the Psychological Assessment Report of Dr. Amanda Gregory, attached under seal

 2   as Exhibit A, further detail the years of abuse, neglect and trauma that was Ricci Wynne’s childhood.
 3
     Ricci has attempted suicide three times including while in custody in January 2019 following his arrest
 4
     on these charges. He was placed on a 5150 hold and subsequently released back to the jail.
 5
            Dr. Gregory diagnosed Ricci with Neurodevelopmental Disorder associated with prenatal
 6
     exposure to cocaine, heroin, and valium (with learning disabilities, executive dysfunction, and impaired
 7

 8   processing speed and attention/working memory); other specified depressive disorder; borderline and

 9   antisocial personality characteristics; stimulant (cocaine) use disorder severe; opiate (heroin) use
10   disorder moderate; and alcohol use disorder, moderate.
11
            Dr. Gregory found that Ricci’s self-concept is poorly established and his attitude about himself
12
     fluctuates, depending on his relationships. His self-esteem appears “fragile and likely to plummet
13
     following slights or oversights from others.” These are likely areas of particular concern for him and
14

15   include “problems with alcohol and drug use, suspiciousness, sensation seeking behavior, impulsivity,

16   anger issues, interpersonal sensitivity, feelings of helplessness, tension and apprehension, antisocial

17   behavior (impulsive, illegal and irresponsible behavior), borderline personality features (emotional
18   lability, little sense of himself, a history of volatile relationships and failures in close relationships,
19
     preoccupation with being abandoned, impulsive self-harm behaviors), moodiness, and disruptions in
20
     thought processes. Notable depressive features are also apparent including sadness, feelings of
21
     worthlessness, hopelessness, sleep problems and low energy. His substance misuse likely plays a
22

23   functional role in helping him withdraw from his problems and relationships.”

24          In addition, Ricci is learned disabled performing in the low/borderline range in several areas.

25   He comprehends reading at a fourth-grade level. On spelling, he performs in the extremely low range.
26
     His executive functioning is in the extremely low range (below the 1st percentile.) The Psychological
27
     Assessment Report detail a man struggling and functioning at a low to extremely low range.
28
                                                                                                                   4

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 1          Dr. Gregory found that Ricci acknowledges that he has significant problems for which he needs

 2   help and has substantial interest in receiving treatment and making changes in his life. His
 3
     combination of issues suggests that treatment is likely to be challenging and that if he does enter
 4
     treatment, that his difficulties in his social support system suggest that impasses in the treatment
 5
     relationship should be handled with particular care.
 6
            Ricci’s disadvantage calls for compassion which the PSR supports. With Ricci’s childhood
 7

 8   trauma, cognitive and learning deficits and neurodevelopmental issues and substance abuse issues, the

 9   PSR recommends a variance under §3553 which the defense joins. The defense, however, asks for a
10   sentence of time served which is now 29 months.2 This sentence is more than double any previous
11
     sentence that Ricci has served and would allow him to go into residential drug treatment at New Bridge
12
     Foundation in Berkeley.
13
            The defense has been advised that Probation would have to place Mr. Wynne on a waiting list
14

15   for residential treatment which means that if he received a time served sentence he would not

16   immediately go into residential treatment. Thus, it is suggested that the Court permit Ricci to be placed

17   on pretrial release which would allow for his release from custody into immediate placement at the
18   New Bridge program. To accomplish this, Defendant asks that his sentence be continued. This would
19
     also permit the sentencing to hang over Mr. Wynne’s head as a further incentive to his successful
20
     completion of the residential drug treatment program.3 4
21
          MR. WYNNE’S BACKGROUND- §3553(a) FACTORS LEADING TO A VARIANCE
22
            2
23            Defendant asks that the PSR be amended in the Release Status section on page 2 to reflect that
     he has been in custody on these offenses since January 10, 2019, when he was arrested by the SFPD.
24          3
              It is noted that Pretrial Services continues to state that Ricci is a danger to the community
     though he has never been convicted of a violent offense. Despite this, Defendant asserts he is not a
25   danger to the community.
            4
26            Remarkably, the government coldly suggests a guidelines sentence is appropriate missing
     application of all the sentencing factors that the Court must consider. That their sentencing
27   memorandum is blind to Ricci Wynne’s background, including his diagnoses is appalling. Such a
     bureaucratic approach to sentencing suggests that the government is out-of-touch with the statutory
28   purposes of sentencing and their recommendation disregarded.
                                                                                                            5

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 1          The PSR and the defense agree that a variance under 18 U.S.C. §3553(a) is appropriate given

 2 the personal history of Mr. Wynne and other factors that the Court must consider in determining an

 3
     appropriate sentence. See United States v. Booker, 543 U.S. 220 (2005). In this case, these factors
 4
     indicate that the agreed-upon sentence between the parties is sufficient, but not greater than necessary,
 5
     to achieve the goals of sentencing. See United States v. Carty, 520 F.3d 984, 991 (9th Cir. 2008).
 6
        1. Chaotic and Disadvantaged Childhood and Lack of Guidance as a Youth
 7

 8          Disadvantaged childhood and lack of guidance as a youth are factors that district courts are free

 9 to consider under Booker and its progeny as part of the § 3553(a) analysis. See United States v. Ruiz,

10 2009 WL 636543 (S.D.N.Y. March 11, 2009) (judge imposed 96 months rather than guideline range

11
     140-175 months for crack offenses in part due to defendant’s difficult childhood with abusive mother
12
     and largely absent father who was incarcerated and a heroin addict); United States v. Patzer, 548
13
     F.Supp.2d 612 (N.D. Ill. 2008) (court imposed sentence of 13 years, despite Guidelines range of 346-
14

15 411 months, finding that defendant’s prior offenses designating him as a career offender were less

16 serious than most of such offenses considered for purposes of that guideline, had difficult childhood,

17 not property diagnosed with ADD, his conduct stemmed from mental health and drug problems that

18 were treatable, and that he had potential for rehabilitation with support of friends and foster family).

19
        2. Consideration of Youth and Immaturity
20
            Youth and immaturity during the commission of an offense is a factor which may be considered
21
     under Section 3553(a) and as directed by Gall v. United States, supra, 128 S.Ct. at 593, 601. See also
22

23 Roper v. Simmons, 125 S. Ct. 1183 (2005) (“today our society views juveniles, in the words Atkins used

24 respecting the mentally retarded, as categorically less culpable than the average criminal . . . A lack of

25 maturity and an underdeveloped sense of responsibility are found in youth more often than in adults
26
     and are more understandable among the young. These qualities often result in impetuous and ill-
27
     considered actions and decisions . . . The relevance of youth as a mitigating factor derives from the fact
28
                                                                                                                 6

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 1 that the signature qualities of youth are transient; as individuals mature, the impetuousness and

 2 recklessness that may dominate in younger years can subside.”); United States v. Montanez, 2007 WL

 3
     2318527 (E.D. Wis. Aug 9, 2007) (court departed based on overstated criminal history, good prison
 4
     conduct, and noticeable increase in maturity).
 5
            Here, while Ricci Wynne is not young by his years, he is immature based upon his mental
 6
     capacities, and as a result acts as a young person does. He has, however, spent the last 29 months in
 7

 8 custody maturing, reflecting on his behavior, his need for guidance and help, and his deep desire for
 9 change.

10      3. Needed Drug Treatment in the Most Effective Manner: Drug Rehabilitation Reduces
11         Recidivism

12          Mr. Wynne has been abusing substances since he was a young teenager. He has the foresight to

13 understand that his drug use has greatly affected his relationships with family, and friends. Drugs

14 helped him manage the trauma and difficulties he was surrounded with, while at the same time creating

15
     situations that led him to these offenses.
16
            It is well-established that people addicted to drugs need treatment, help, and a support system to
17
     fully break the addiction. Moreover, the recidivism rate is less for drug offenders who receive treatment
18

19 while in prison or jail, and still less for those treated outside of a prison setting. Lisa Rosenblum,

20 Mandating Effective Treatment for Drug Offenders, 53 Hastings L.J. 1217, 1220 (2002); see also

21 United States v. Perella, 273 F.Supp.2d 162, 164 (D. Mass. 2003) (observing that if drug addiction

22
     creates a propensity to crime, drug rehabilitation goes a long way in preventing recidivism).
23
        4. Double Counting – the Guidelines are Increased Based on the Same Conduct
24
            The base offense level is increased for Mr. Wynne because he committed the offense
25
     subsequent to sustaining at least two controlled substance offenses. PSR ¶ 21. These same two prior
26

27 controlled substance offenses serve as the sole basis for the application of the career offender

28 guidelines. PSR ¶ 28.
                                                                                                             7

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 1          The plain language of the guidelines does not support double counting enhancements. The

 2 guidelines sections that define offense levels and that adjust offense levels merely delineate conduct

 3
     that requires imposition of enhancements. They do not discuss interplay between these mechanisms.
 4
     Likewise, the application instructions lay out the steps to follow in determining a sentence range, but do
 5
     not provide a guide to resolving conflicts among the steps. There is no language in the guidelines to
 6
     support the cumulative application of enhancements.
 7

 8          As with the plain-language inquiry, the structure of the sentencing guidelines does not support

 9 double counting. The guidelines' language does not present an overarching theme indicative of the

10 Commission's intent to allow double counting. Nor do the guidelines provide a list of permissible or

11
     prohibited areas of cumulative punishment from which to extrapolate that the Commission permits
12
     double counting.
13
            As with the language and structure of the guidelines, legislative intent does not support double
14

15 counting. The key indicator of Congress' intent is the Senate report outlining the findings supporting the

16 Sentencing Reform Act.5        In this report Congress found that in preguidelines sentencing judges had

17 too little regard for the relative seriousness of offenses. The report shows that Congress found

18 sentences that are too severe in relation to others create unnecessary tension among inmates, leading to

19
     discipline problems in prison. Congress' goal was to create a system of ranked seriousness that the
20
     guidelines embody. It intended to treat categories of offenders consistently without resorting to narrow
21
     sentencing statutes. It also sought to eliminate problems created by offenders who might fall into more
22

23 than one category. Congress did not, however, call for more severe sentences.

24          These findings do not show that Congress intended for sentence enhancements to apply

25 cumulatively for the same conduct. Instead, they show that a primary concern was for proportional
26
     sentences with- out over-punishing. The legislative history of the Sentencing Reform Act, therefore,
27
            5
28              S. REP. No. 225, supra note 3, at 38, reprinted in 1984 U.S.C.C.A.N. at 3221.
                                                                                                               8

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 1 does not support double counting. Instead, it, suggests that Congress did not intend such cumulative

 2 punishment.

 3
             Double counting defeats the congressional goal to create a sentencing system that promotes
 4
     proportionality in sentencing. While the Court may find the guideline enhancements applicable to Mr.
 5
     Wynne, it can also find and acknowledge that there is a double counting based upon the same exact
 6
     conduct and adjust the sentence imposed by varying downward under § 3553 for this reason.
 7

 8                             THE APPLICABLE SENTENCING GUIDELINES

 9           Defendant agrees with the PSR that Counts 1 and 2 are grouped for guideline calculation
10 purposes though the plea agreement misapplied the guidelines. However, it appears that the four-level

11
     enhancement for possession of the firearm in connection with another felony offense is not applicable.
12
     PSR § 23. For the four-level enhancement to apply, the government “must show that the firearm was
13
     possessed in a manner that permits an inference that it facilitated or potentially facilitated — i.e, had some
14
     potential emboldening role in — a defendant’s felonious conduct.” United States v. Routon, 25 F.3d 815,
15

16 819 (9th Cir. 1994). See United States v. Polanco, 93 F.3d 555, 565–66 (9th Cir. 1996) (requiring “proof of

17 a ‘connection’ between the use or possession of the firearm and the underlying offense”). See United States

18 v. Noster, 590 F.3d 624, 635 (9th Cir. 2009) (explaining that “[t]he government bears the burden of

19 producing sufficient evidence that the defendant intended to use or possessed the firearm in connection with

20 a specifically contemplated felony”); Bishop, 940 F.3d at 1252 (holding “that mere proximity between a

21
     firearm and drugs possessed for personal use cannot support the § 2K2.1(b)(6)(B) enhancement without a
22
     finding that the gun facilitated or had the potential to facilitate the defendant’s drug possession”); United
23
     States v. Grimaldo, 984 F.3d 876 (9th Cir. 2021).
24
             Here, there is no evidence to suggest that the possession of the firearm facilitated the
25
26 commission of the possession with intent to distribute drugs. For this reason, this enhancement is not

27 applicable in this case.

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                                                                                                                      9

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 1                                              CONCLUSION

 2          In full consideration of Mr. Wynne’s history and characteristics together with the goals of
 3
     sentencing, Defendant urges the Court to sentence him to time served with immediate placement into
 4
     residential drug treatment at New Bridge where he has been accepted. To impose this sentence, Mr.
 5
     Wynne requests that the Court continue his sentencing, placing him on pretrial release to New Bridge.
 6
     Dated: June 8, 2021                                         Respectfully submitted,
 7

 8                                                                      /s/ Gail Shifman

 9                                                               ________________________________
                                                                 GAIL SHIFMAN
10                                                               Attorney for Defendant
11                                                               RICCI LEE WYNNE

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